Case 1:18-cV-02376-GHW Document 27 Filed 04/30/18 Page 1 of 25

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HUDSON YARDS CONSTRUCTION LLC,

-against-

BUILDING AND CONSTRUCTION TRADES
COUNCIL OF GREATER NEW YORK AND
VICINITY and GARY LaBARBERA,

Defendants.

Case No.: 18 CIV 02376 GHW)(DCF)
ECF Case

 

MEMORANDUM OF LAW IN SUPPORT OF
PLAINTIFF’S MOTION TO REMAND

 

020019~494/00127144-1

Respectfully Submitted,

WACHTEL MISSRY LLP
1 Dag Hammarskjold Plaza
885 Second Avenue, 47th Fl.
New York, NeW York 10017
(212) 909-9500

COVINGTON & BURLING LLP
620 Sth Avenue

New York, New York 10018

(212) 841-1000

Attorneysfor PlaintW

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 2 of 25

Table of Contents
Table Of Authorities ...................................................................................................................... (ii)
PRELIMNARY STATEMENT ....................................................................................................... 1
STATEMENT OF FACTS .............................................................................................................. 3
A. Hudson Yards Construction, LLC ....................................................................................... 3
B. Building and Construction Trades Council of Greater NeW York and
Vicinity and its President, Gary LaBarbera ......................................................................... 4
C. Defendants’ Tortious and Defamatory Conduct .................................................................. 5
ARGUMENT ................................................................................................................................... 6
I. DEFENDANTS MUST PROVE REMOVAL IS APPROPRIATE ............................... -.....6
II. THE COURT LACKS DIVERSITY JURISDICTION ...................................................... 7
III. THE COURT_ LACKS FEDERAL QUESTION JURISDICTION
UNDER THE LRMA .......................................................................................................... 9
A. There ls No Preemption Under Sections 301 and 303 0f the LMRA Because
BCTC Is Not A “Labor Organization.” ............................................................................... 9
B. The Court Has NO Federal Question Jurisdiction Over Claims Against
Tortfeasor LaBarbera ......................................................................................................... 14
C. Plaintiff’s Claims Are Not Preempted Under LMRA Section 301 Because
They Are Not Substantially Dependent on the Terms of a Collective
Bargaining Agreement ....................................................................................................... 15
D. Plaintift" s Causes of Action Are Not Preempted Under LMRA Section 303
Because They Do Not Relate To Secondary Activity ....................................................... 17
E. There ls NO Federal Question Jurisdiction Over Plaintiff’ s Defamation
Cause of Action .................................................................................................................. 19
CONCLUSION .............................................................................................................................. 20

020019-494/00127714-1

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 3 of 25

Table of Authorities

Cases Page No.
Allz's-Chalmers Corp. v. Lueck,

471 U.S. 202 [1985] ........................................................................................................... 15, 16
Anwar v. Fairfl`ela’ Greenwich Ltd.,

676 F. Supp. 2d 285 [S.D.N.Y. 2009] ......................................................................... 6, 7, 11, 18
Avcmt Capz'tal Partners, LLC v. W] 08 Dev. LLC,

2016 WL 3660756 [S.D.N.Y. June 30, 2016] ............................................................................. 7
Beacon Movl'ng and Sz‘orage, Inc. v. Local 81 4, Int’l Brhd ofTeamsfers, etc.,

362 F. Supp. 442 [S.D.N.Y. 1972] ............................................................................................. 7
Blockbuster, Inc. v. Galeno,

472 F.3d 53 [2d Cir. 2006] .......................................................................................................... 6
Bus. Assez‘ Relocation, Inc. v. Teamsters Local 81 4,

2015 WL1443267[E.D.N.Y.1\/larch 27, 2015] ............................................... 10, 11, 13, 14, 15
Carl'er v. Heall'hPorl' Techs., LLC,

822 F.3d 47 [2d Cir. 2016] .......................................................................................................... 7
Electric Workers, IBEW(AFL~C[O) Local 3 (Dz' Gangi Elecl'rical Servz'ces),

130 NLRB 1458 (1961); .......................................................................................................... 12
FDIC v. Tyco lnl’l Ltd. ,

422 F. Supp. 2d 357 [S.D.N.Y. 2006] ......................................................................................... 6
Foy v. Pral't & th'mey Group,

127 F. Supp. 2d 357 [2d Cir. 1997] ........................................................................................... 17

Gay v. Carlson,
60 F.3d 83 [2d Cir. 1995] .......................................................................................................... 17

111 the Matter of Sl'iefel Construction Corp. and Um'ted Steelworkers ofAmerz'ca, CIO,
64 NLRB 565 (1945) ................................................................................................................. 12

lodice v. Calabrese,
345 F. Supp. 248 [S.D.N.Y. 1972] ............................................................................................ 14

Jody Faz`r, Inc. v. Dubz'nsky,
225 F. Supp. 695 [S.D.N.Y. 1964] .............................................................................................. 7

020019-494/00127714-1 ii

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 4 of 25

Table of Authorities

Cases Page No.

Lz'ngle v. Norge Dz'v. of Magic Chef, ]nc,
486 U.S. 399 [1988] .................................................................................................................. 15

Linn v. Um`ted Plcm¢ Guard Workers,
383 U.S. 53 [1966] ................................ 19

Livadas v. Bradshaw,
512 U.S. 107, 114 S. Ct. 2068, 129 L. Ed. 2d 93 [1994] .......................................................... 15

Lupo v. Human A]j”az`rs Im‘ ’l, lnc,
28 F. 3d 269 [2d Cir. 1994] ......................................................................................................... 7

Martz'n v. Snyder,
148 U.S. 663 [1893] .................................................................................................................... 9

Monl'ana v. sz'th,
92 A.D.2d 732 [1983] ............................................................................................................... 19

Natz'onal Bank ofNorl'h America v. Local 553 Pensz`on Fund, etc.,
463 F. Supp. 636 [E.D.N.Y. 1978] .............................................................................................. 7

Nal‘l`onal Gypsum Co.,
32 NLRB 976 (1941) ................................................................................................................. 12

NLRB v. Local 3 Int’l Brotherhood of Elec. Workers,
471 F.3d 399 [2d Cir. 2006] ...................................................................................................... 18

NLRB v. Local 3 Int ’l Brol'herhood ofElec. Workers,
730 F.2d 870 [2d Cir. 1984] ...................................................................................................... 18

Prater v. Um'l'ed Mz'ne Workers of Am. Disl'ricts 20 & 23,
793 F. 2d 1201 [11th Cir. 1986] ................................................................................................ 14

R.M. Perlmcm, lnc. v. New York Coat, Suit, Dresses, Rainwear & Allied Workers’ Unz`on Local

89-22-], I.L. G. W. U.,
789 F. Supp. 127 [S.D.N.Y. 1992] ............................................................................................ 14

Rz'vas v. Bowling Green Assocs., L.P.,
2014 WL 3694983 [S.D.N.Y. July 24, 2014] ............................................................................. 8

Smith~Emery C0. v. Int’l Um`on of Operating Eng’rs Local Unl`on N0. ]2,
2017 WL 3634590 [C.D. Cal. August 21, 2017] ...................................................................... 17

020019~494/00127714-1 iii

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18

Table of Authorities

Cases

Snyder Corp. v. Fil’ness Ria’ge Worldwide, LLC,

2018 WL 1428254 [W.D.N.Y. March 22, 2018] ......................................

Wz`lds v. UPS, Inc.,

262 F. Supp. 2d 163 [S.D.N.Y. 2003] .......................................................

Wilmz`ngton Tr. C0. v. Hellas Telecommunications, S.c`z.r.l.,

2016 WL 7339112 [S.D.N.Y. August 4, 2016] ........................................

WolfSl; Supermarkets, Inc. v. McPartland,

108 A.D.2d 25 [1985] ...............................................................................

Statutes

28 U.S.C. § 1332 ..........................................................................................
28 U.S.C. § 1441(1>)(2); ...............................................................................
28 U.S.C. § 1447(¢). .....................................................................................
29 U.S.C. § 152 .............................................................................................
29 U.S.C. §§ 158(b)(4) .................................................................................
29 U.S.C. §§ 185, ..........................................................................................
29 U.S.C. § 185(3) ........................................................................................

29 U.S.C. § 187 .............................................................................................

020019-494/00127714-1 iv

Page 5 of 25

Page No.

.................................. 8

.................................. 6

.................................. 8

................................ 20

Page No.

.................................. 7
.................................. 8
.................................. 1
............................ 9, 14
.............................. 3,9
............................ 9, 14
................................ 15

.................. 3, 9, 14, 18

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 6 of 25

PRELIMINARY STATEMENT

Plaintiff Hudson Yards Construction, LLC brought an action in NeW Yorl< State Supreme
Court to redress the tortious and illegal conduct of the Building and Construction Trades Council
of Greater New Yorl< & Vicinity (“BCTC”) and its President, Gary LaBarbera (“Mr. LaBarbera”
and collectively, “Defendants”) Which caused extraordinary damage to Plaintiff’ s management
of the largest commercial real estate project in NeW York City. Rather than litigate the dispute in
state court, Where it belongs, Defendants removed the case in hopes of obtaining a dismissal on
grounds of preemption In so doing, Defendants directly contradict the arguments that they made
a mere three years ago in the Eastern District of New York, and misconstrue black letter law on
diversity jurisdiction Because this Court lacks subject-matter jurisdiction over the state-law
torts committed by Defendants, the Court should grant Plaintiff”s motion to remand pursuant to
28 U.S.C. § 1447(0).

Plaintiff is the construction manager of the Hudson Yards Development Project
(“HYD”). ln January 2013, Plaintiff entered into a site-Wide project labor agreement (“PLA”)
With the BCTC and its member labor unions, permitting those unions to be hired for HYD’s
Eastern Railyards construction (“ERY”). However, during construction, Defendants failed to
honor the PLA’s terms.

As a consequence, Plaintiff declined to enter into a new PLA for the remaining portions
of the HYD, including the Western Railyards and 50 Hudson Yards construction Instead,
Plaintiff decided to solicit both union and non-union bids for the substantive non-PLA-covered
Worl< to be done at HYD and/or directly enter into contracts With BCTC’s affiliated trade union

members. In response, Defendants engaged in repeated tortious and illegal efforts to interfere

020019-494/00127763-1

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 7 of 25

with such prospective contracts and commenced a defamatory campaign against Plaintiff,
maliciously designed to inflict reputational harm.

On March 5, 2018, Plaintiff commenced an action in New York State Supreme Court to
remedy the extraordinary damage Defendants caused, alleging two state-law causes of action: (i)
tortious interference with prospective economic advantage; and (ii) defamation Defendants
subsequently removed the case to this Court, alleging federal jurisdiction based on (a) diversity;
and (b) federal-question jurisdiction because Plaintifi”s claims are purportedly preempted under
both Sections 301 and 303 of the Labor l\/lanagement Relations Act (“LMRA”). But Defendants
have not-and cannot-carry their burden as to each alleged grounds for removal Their
arguments are at odds with well-established labor law, principles of subject matter jurisdiction,
and factual assertions that these very defendants made just three years ago in federal court.
Accordingly, the Court should remand the case to New Yorl< State Supreme Court for the

reasons set forth below:

First, Defendants’ invocation of diversity jurisdiction fails. There is no complete
diversity of citizenship because Plaintiff, a limited liability corporation, is comprised of a New
Yorl<-based member and both Defendants are New York citizens. In addition, a New Yorl<

defendant cannot remove based on diversity jurisdiction

Second, the state-law claims are not preempted under either Ll\/IRA Section 301 or 303
because the BCTC is_by its own recent admission in federal court»not a “labor organization.”

Further, there is no federal jurisdiction over either claim against individual defendant Gary

LaBarbera.

020019-494/00127763-1 2

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 8 of 25

Thz`rd, the Court does not have jurisdiction under LMRA Section 301 because the
Complaint does not assert a cause of action that requires interpretation of any collective

bargaining agreement

Fourz‘h, the Court does not have jurisdiction under Ll\/IRA Section 303 because Plaintiff”s

946

state-law tort causes of action are premised on Defendants primary”_not “secondary”-

activity and therefore fail to implicate 29 U.S.C. §§ 158(b)(4), 187 in any respect.

Fz'nally, it is well-settled that defamation causes of action derived from the labor relations
context may proceed in state court where_as here-Plaintiff has sufficiently pled actual malice

and damages suffered as a result of Defendants’ defamatory conduct.

Accordingly, the Court should remand Plaintiff’ s Complaint to the proper jurisdiction of

New York State Supreme Court.

STATEMENT OF FACTS

A. Hudson Yards Construction, LLC
Plaintiff is the construction manager for HYD and is charged with overseeing the entire
Hudson Yards development project, including entering into contracts with trade unions and labor
councils in connection with the project. (See Summons and Complaint, ECF No. 3-2 (“Compl.”)
at jj 1, 18.) Plaintiff, a Delaware limited liability company, is registered to do business in the
State of New York and has a principal place of business at 60 Columbus Circle, New Yorl<, New
York. (Id. at jj 12.) The sole member of Plaintiff is Hudson Yards Holdings, LLC. (See

Declaration of l\/iichael J. Brenner at 11 3.) The sole member of Hudson Yards Holdings, LLC is

020019-494/00127763-1 3

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 9 of 25

The Related Companies, L.P., a New York limited partnership, which also has a principal place
of business at 60 Columbus Circle, New York, New York. (Id. at 11 4.) At least one of the
individual limited partners of The Related Companies, L.P. is a New York citizen (Ia’. at 1111 6-

7-)

B. Building and Construction Trades Council of Greater New York and Vicinitv and
its President, Garv LaBarbera

Defendant BCTC is a New York-basedl umbrella organization comprised of
representatives of approximately 15 labor unions, and is a political entity advocating for its
affiliate unions and providing coordination and support to them. (Compl. at 11 24; see also
Verified Petition for Removal (“Removal Petition”), ECF No. 3-1,` at 11 3.) As the BCTC
admitted to this Court, “[e]mployees do not participate directly in the business of the BCTC.”
(Hearing Tr.Z, 3/30/ 18 at p. 8:3-4.) The BCTC cannot negotiate wages or work conditions, or
otherwise bind any union without a separate and specific authorization and assent and agreement
by such union. (Compl. at 11 24.) Gary LaBarbera, a New York State resident, is the President

0f1h¢BCTC.3 (Id. 3111 14-15.)

 

1 The BCTC’s principal place of business is at 71 West 23rd Street, New York, New York. (Compl. at 11 13.)

2 A copy of the transcript from the March 30, 2018 hearing is annexed to the Declaration of Evan Weintraub,
Esq. as Exhibit A.

3 Mr. LaBarbera previously held office as the President of Teamsters Local 282 and was subject to a federal
investigation for his egregious and illegal conduct in that capacity. A Federal Court-appointed investigator
concluded that Mr. LaBarbera violated his oath of office as President of Local 282 and violated his
fiduciary duties as trustee of the union funds. The investigator referred charges to the Local 282 President
that, among other things, Mr. LaBarbera knowingly violated a consent judgement and obstructed the work
of the investigation The investigator also referred the matter to the United States Attorney. Mr. LaBarbera
entered into a settlement agreement with the Teamsters, which provided that he would be banned from
seeking or holding office at Teamster Local 282. (Id. at 11 15, see also Ex. A to Compl.)

020019-494/00127763-1 4

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 10 of 25

C. Defendants’ Tortious and Defamatorv Conduct

Plaintiff agreed to use union labor exclusively for the ERY portion of the HYD and, on
January 16, 2013, memorialized its agreement to do so with the BCTC and 35 individual local
unions in the PLA. (Compl. at 11 25.) However, based on its subsequent experience under the
PLA, Plaintiff concluded that it Would not negotiate a new PLA with the BCTC and the local
unions for the remaining portions of Hudson Yards, including the Western Rail Yards (the
“WRY”) and 50 Hudson Yards. (Ia'. at 11 5.) Instead, Plaintiff designated 50 Hudson Yards a
“merit shop,” meaning both union and non-union contractors could bid on the proj ect, and sought
to enter into separate Trade Labor Agreements (each, a “TLA”) with individual unions. (Ia’. at 1111
6, 72.)

In response, Defendants_BCTC and its president, l\/lr. LaBarbera_embarked on a
transparent campaign of bullying and defamation (Ia’. at 11 9.) Defendants tortiously pressured
their affiliated unions not to enter into any agreements to work at 50 Hudson Yards unless
Plaintiff agreed that the entire building would be constructed by union laborers. (Ia’. at 1111 79,
89.) Additionally, the BCTC threatened affiliated unions with sanctions if they signed a TLA,
including but not limited to barring them from participating in at least some, if not all, of the
future large public works projects that the BCTC spearheads. (Ia’. at 11 90.) Defendants acted
with the purpose of harming Plaintiff in its business relations, and they have in fact damaged
Plaintiff’ s prospective economic advantage in an amount of not less than $50,000,000. (Ia’. at 1111
92-93.)

In addition, l\/Ir. LaBarbera made false and derogatory statements about Plaintiff and its

executives (Compl. at 1111 78, 95.) For instance, at a public rally on November 14, 2017, Mr.

020019-494/00127763-1 5

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 11 of 25

LaBarbera called Plaintiff “greedy” “union busters” who “don’t want to pay benefits” and are
“using you [union Workers] up and throw[ing] you to the side.” (Ia’.) Mr. LaBarbera also made
public statements describing the HYD work site as a “prison.” (]a’.) As Defendants are well-
aware, these comments are false. (Ia’. at 1111 96, 98.) Defendants plainly defamed Plaintiff by
publishing these statements with actual malice and intent to harm HYC. (]d. at 11 99.)
Defendants’ tortious conduct has been highly detrimental to Plaintiff and caused significant
actual damage to Plaintiff’ s reputation and standing in the community; naturally, the exact
amount of damage Defendants wreaked will be determined according to proof at trial. (]a’. at 1111

99-104.)

ARGUMENT

l. DEFENDANTS MUST PROVE REMOVAL IS APPROPRIATE.

As the Court articulated at the l\/Iarch 30 pre-motion conference, Defendants bear the
burden of proof on this motion See Hearing Tr., 3/30/ 18 at 8:21-24, 10:5-7. Defendants must
“establish[] to a ‘reasonable probability’ that removal is proper” and that the action arises under
federal law. Anwar v. Faz`rjiela’ Greenwich Ll’a’., 676 F. Supp. 2d 285, 292 (S.D.N.Y. 2009)
(ciling Blockbuster, Inc. v. Galeno, 472 F.3d 53, 58 .(2d Cir. 2006)). Indeed, “the party seeking
remand is presumed to be entitled to it unless the removing party can demonstrate otherwise.”
Wila’s v. UPS, lnc., 262 F. Supp. 2d 163, 171 (S.D.N.Y. 2003) (internal citations omitted).
These principles preserve the limited jurisdiction of federal courts and maintain “the
independence of state courts.” FDIC v, Tyco Int’l Lta'., 422 F. Supp. 2d 357, 367-68 (S.D.N.Y.

2006). “[A]ny doubts regarding the propriety of removal are resolved in favor of remand, and

020019-494/00127763-1 6

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 12 of 25

‘federal courts construe the removal statute narrowly.”’ Anwar, 676 F. Supp. 2d at 292 (quol'ing
Lupo v. Haman A]j‘airs Int’l, Inc., 28 F.3d 269, 274 (2d Cir. 1994)).

To this end, the factual allegations of the complaint are deemed controlling and must be
read as drawn by Plaintiff. See Natz'onal Bank ofNorth America v. Local 553 Pension Fand, etc.,
463 F. Supp. 636, 639 (E.D.N.Y. 1978); Beacon Moving and Storage, Inc. v. Local 8]4, lnt'l
Brhd of Teamsters, etc., 362 F. Supp. 442, 444 (S.D.N.Y. 1972); Jody Fair, lnc. v. Dabz'nsky, 225
F. Supp. 695, 696 (S.D.N.Y. 1964). Indeed, at the pre-motion conference, Defendants
committed that they would rely solely on the facts pleaded in the Complaint (and the attachments
thereto) and would not “go[] outside of the pleadings.” Hearing Tr. 3/30/ 18 at 8:21 - 10:1.

As explained below, Defendants’ removal petition does not satisfy their burden under

these exacting standards

Il. THE COURT LACKS DIVERSITY JURISDICTION.

Defendants have asserted that the Court has diversity jurisdiction under 28 U.S.C. § 1332
because Plaintiff is a Delaware limited liability company, Defendants are New York residents
and the amount in controversy exceeds $75,000. (See Removal Petition at 11 11.) In fact, the
diversity necessary to support jurisdiction does not exist, and the New York Defendants cannot
remove based on diversity in any event.

For purposes of evaluating diversity, the citizenship of a limited liability corporation is
determined by the citizenship of each of its members, not its state of incorporation See Carter v.
Heall'hPort Techs., LLC, 822 F.3d 47, 60 (2d Cir. 2016). Where, as here, the Plaintiff LLC has
members which are one or more LLCs, “the citizenship of the members of those LLCs must also
be given, and must be diverse.” Avam‘ Capl'tal Partners, LLC v. W]08 Dev. LLC, 2016 WL

020019-494/00127763-1 7

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 13 of 25

3660756 at *2 (S.D.N.Y. June 30, 2016). “The citizenship of unincorporated associations must
be traced through however many layersof partners or members there may be.” Snyder Corp. v.
Fz'mess Ridge Worldwide, LLC, 2018 WL 1428254 at *2 (W.D.N.Y. l\/lar. 22, 2018) (citations
omitted).

Here, Plaintiff is a New~York citizen for diversity purposes Plaintiff is a limited liability
company, Whose sole member is Hudson Yards Holdings LLC. Hudson Yards Holdings LLC is
also a Delaware limited liability company. (Decl. of l\/Iichael J. Brenner at 11 3.)4 The sole
member of Hudson Yards Holdings LLC is The Related Companies, L.P. (“Related”), a New
York limited partnership (Id. at 11 4.) A limited partnership has “the citizenship of each of its
general and limited partners.” Wilmington Tr. Co. v. Hellas Telecommunicatz'ons, S.c`l.r.l., No.
12-CV-8686 (JPO), 2016 WL 7339112, at *2 (S.D.N.Y. Aug. 4, 2016). At least one of the
individual partners of Related is a New York citizen (Decl. of l\/lichael J. Brenner at 1111 6-7.)
Thus, Related is a New York citizen, which means Hudson Yards Holdings is a New York
citizen, which means Plaintiff is also a New York citizen l\/loreover, as the Removal Petition
admits, Defendants are citizens of New York. (See Removal Petition at 11 11.) Thus, complete
diversity is lacking as between Plaintiff and Defendants

Even were the Court to find that sufficient diversity exists to establish jurisdiction, it is
well-established that the New York-based Defendants may not remove based on diversity
jurisdiction See 28 U.S.C. § 1441(b)(2); see also Rivas v. Bowling Green Assocs., L.P., 13-cv-

7812 (PKC), 2014 WL 3694983 at *1 (S.D.N.Y. July 24, 2014) (“It has long been a feature of

 

4 Citizenship of Plaintiff was not pleaded in the Complaint Although Defendants bear the burden of proving
diversity of citizenship, the Removal Petition does not do so, and Defendants’ pre-motion letter simply
notes that the Complaint is silent as to Plaintiff s citizenship Plaintiff has therefore provided the Court
with the necessary information through the accompanying Declaration

020019-494/00127763-1 8

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 14 of 25

federal removal practice that the removing party may not be a citizen of the state where the
district court sits.”) (citing Martin v. Snyder, 148 U.S. 663, 663-64 (1893)).
F or these reasons, the court lacks diversity jurisdiction as a basis for removal.

lll. THE COURT LACKS FEDERAL QUESTION JURISDICTION UNDER THE
LMRA.

A. There Is No Preemption Under Sections 301 and 303 of the LMRA Because
BCTC Is Not A “Labor Organization.”

Defendants contend that the Court has subject-matter jurisdiction under LMRA Section
301 and/or Section 303 over Plaintiff’s state-law causes of action (See Removal Petition at 1111 6-
10.) That is wrong because Defendants concededly are not a “labor organization.” See 29
U.S.C. §§ 185, 187.

Section 301 of the LMRA confers jurisdiction for “[s]uits for violations of contracts
between an employer and a labor organization representing employees in an industry affecting
commerce.” 29 U.S.C. § 185 (emphasis added). Section 303 of the LMRA confers federal
jurisdiction for claims that a “labor organization” has engaged in activity or conduct defined as
an unfair labor practice in 29 U.S.C. § 158(b)(4)). 29 U.S.C. § 187. No federal subject-matter
jurisdiction exists if BCTC is not a “labor organization” within the meaning of these statutes.

The statutory definition of a “labor organization” includes two distinct requirements: the
entity must be an organization “in which employees participate” Qid “which exists for the
purpose, in whole or in part, of dealing with employers concerning grievances, labor disputes,
wages, rates of pay, hours of employment or conditions of work.” See 29 U.S.C. § 152. The

BCTC cannot satisfy either requirement

020019-494/00127763-1 9

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 15 of 25

As to the first factor, it is undisputed that no employees participate in the business of the
BCTC. Indeed, the BCTC admitted as much during the pre-motion conference in this case.
(Hearing Tr., 3/30/ 18 at 8:3-4.) Also, just three years ago, in support of its motion to dismiss a
complaint alleging violations under LMRA Section 303 commenced in the Eastern District of
New York, the BCTC argued that it was not a “labor organization” because, inter alia,
“[e]mployees do not actively participate in the BCTC” and the “BCTC does not represent
employees of any employer.” See Bas. Asset Relocation, Inc. v. Teamsters Local 81 4, No. 14-
CV-0098 (RRM) (Vl\/IS), 2015 WL 1443267, at *5 n. 6 (E.D.N.Y. Mar. 27, 2015) (ECF No. 32
at 15-17; ECF No. 36 at 3-4). The inquiry should end here.

But even as to the second factor, the Complaint contains the following specific factual
allegations demonstrating that the BCTC does not meet the statutory definition of a “labor
organization”:

0 The BCTC “is not itself a labor union” (Compl. at 11 13);
0 The “BCTC is an umbrella organization comprising representatives of approximately 15

unions, which advocates for the use of PLAs as a way of encouraging the exclusive use
of union labor which would otherwise not be cost-competitive with l\/lerit Shop labor.”

(1¢1 1111 24);

o “The BCTC is for all intents and purposes a political organization advocating for its
affiliate unions.” (Id);

¢ “The BCTC is not a signatory to any collective bargaining agreement because it is not a
labor union, in that it does not represent or organize any group of trade
employees/workers/craftsmen.” (Id.); and

o “As a result, the BCTC cannot negotiate wages or work conditions, or otherwise bind any
union without a separate and specific authorization and assent and agreement by said

union.” (Id.)

020019-494/00127763-1 10

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 16 of 25

Plaintiff’s numerous specific factual allegations, which must be construed in a light most
favorable to Plaintiff, see, Anwar, supra, 676 F. Supp.2d at 292, easily clear the low bar at the
pleading stage for the Court to reach the conclusion that the BCTC is not a “labor organization.”
Moreover, Defendants cannot contest these allegations because they represented to the Court
they would rely solely on the pleadings to argue whether BCTC is a “labor organization.”

Plaintiff’s factual allegations are confirmed by the fact that the BCTC has made
Plaintiff s very same arguments, relying on these very same facts See Bas. Assel' Relocan`on,
Inc., 2015 WL 1443267 at *5. ln that case, plaintiff, a moving company, alleged that the BCTC,
among other entities, engaged in unfair labor practices under Section 303 of the LMRA,
specifically under sections 8(b)(4)(A), 8(b)(4)(B) and 8(b)(4)(D). Id The BCTC filed a motion
to dismiss the federal court complaint for want of jurisdiction because, inter alia, the BCTC is
not a “labor organization.” Id. The factual assertions in support of the BCTC’s motion in that
case mirror Plaintiffs allegations here: the BCTC asserted that it is “an umbrella organization
comprised of local building and construction trade unions, engaged in primarily in legislative,
political and community activity in advocacy for its affiliate organizations Employees do not
actively participate in the BCTC. The BCTC does not represent employees of any employer.”
Id., ECF No. 32 at 14.

Although the BCTC was unsuccessful in persuading the district court to dismiss the
pleading on this basis, the court’s conclusion was based in large measure on the procedural
posture there. On a motion to dismiss, the court was required to accept the plaintiffs plausible

§§

allegation “that BCTC is a labor organization.” The court deferred deciding the issue: any

dispute with this allegation is more appropriately dealt with after discovery.” See Bas. Asset.

020019-494/00127763-1 l l

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 17 of 25

Relocatl'on, Inc., 2015 WL 1443267, at *5 n. 6. The district court recognized that at the motion
to dismiss stage, it Was required only to determine whether the complaint included “enough facts
to state a claim to relief that is plausible on its face.” Id. at *7 (internal citations omitted).5 Here,
it is Plainl'z']j"s specific factual allegations that warrant the Court’s deference, and when viewed
through that lens, those unrebutted facts unequivocally lead to the legal conclusion that the
BCTC is not a “labor organization.”

Even in their Verified Petition for Removal (ECF No. 3-1), defendants describe the BCTC as
“an umbrella organization comprised of local labor unions and district councils affiliated with 15
National Trades Unions affiliated with North America's Building Trades Unions, representing
100,000 New York City construction workers The BCTC provides coordination and support to its
affiliated local unions in order to achieve a unified effort on behalf of organized construction workers
with respect to governmental affairs, the improvement of working conditions, and community and
economic development that provide work opportunities for our affiliates' members The BCTC is
also apparently being sued in its capacity as an entity that negotiated and executed the Project Labor
Agreement ("PLA") covering specified work at the Eastern Railyards portion of the Hudson Yards
development as well as an advocate for PLAs generally.” Id. at 11 3. Notably the Verified Petition
for Removal is wholly consistent with the allegations in the Complaint, consistent with defendants’

prior position in Bus. Asset. Relation, Inc., and inconsistent with their current self-serving position

 

5 The district court also noted that the National Labor Relations Board (“NLRB”) has, on a few occasions,
indicated that the BCTC falls under the National Labor Relations Act (“NLRA”) as a “labor organization”;
however, it does not appear that the BCTC’s status as a “labor organization” was challenged in those cases
See, e.g., Electrl'c Workers, IBEW (AFL-CIO) Local 3 (Di Gangi Electrl`cal Servl'ces), 130 NLRB1458,
1459 (1961); In the Matter of Stl'efel Constructl'on Corp. and United Steelworkers ofAmerica, CIO, 64
NLRB 565, 566 (1945); Natl'onal Gypsum Co., 32 NLRB 976, 977 (1941). Moreover, the fact that the
NLRB found that the BCTC was a “labor organization” more than 60 years ago does not alter the fact that
employees do not now participate in the organization and the BCTC does not now deal with employers on

behalf of any employees

020019-494/00127763-1 12

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 18 of 25

The Court should reject the BCTC’s recent abrupt about-face from the position it took in
Bas. Asset Relocatz'on, ]nc. merely three years ago. When questioned by the Court during the
pre-motion conference, the BCTC asserted that “there have been developments over the last
several years which lead us to rethink th[e] position” it took previously that it was not a “labor
organization.” (Hearing Tr., 3/30/ 18 at 5:12-25.) Although the BCTC did not say what, if any,
recent developments warrant this stark departure, the BCTC asserts as a partial basis for its
position that it submits LM-2 reports with the United States Department of Labor and processes
grievances (Id. at 6:8-15, 7:2-5). But neither fact is a recent development sufficient to justify its
changed stance,6 and, more importantly, neither indicia resolves the legal issue as to its status as
a “labor organization.”

The BCTC further asserts as a basis for its legal status that it “negotiates contracts
regularly, including Project Labor Agreements.” (]d. at 7:5-6.) But this is also not a recent
development The PLA referenced in the Complaint was negotiated in 2012 and executed in
January 2013 (see Compl. at 11 3) and, therefore, was in existence well-in advance of Defendants’
briefing in Bus. Asset. Relocation, Inc., which occurred between June and August 2014. lndeed,
Defendants’ briefing expressly addressed the BCTC’s role in negotiating and executing PLAs.
ln addition, whether the BCTC negotiates PLAS is not dispositive as to the second factor for
determining whether the BCTC is a “labor organization.” As the BCTC argued in Bus. Asset.
Relocatl'on, Inc., it “negotiates many PLAs, [but its] role is to facilitate the negotiation of one
agreement that recognizes the affiliate not the BCTC, as the exclusive bargaining representative

of employees.” See Bas. Asset. Relocation, Inc., Case No. 1:14-cv-00098, ECF No. 36 at 3-4. ln

 

6 A search of the United States Department of Labor website reveals that the BCTC (file number 045-420)
has filed LM-2 reports since at least 2000.

020019-494/00127763-1 l 3

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 19 of 25

any event, the BCTC’s involvement with PLAs has no bearing on the first factor, i.e., whether
employees participate in the organization

What was true a few years ago when the BCTC briefed and argued Bas. Asset Relocation,
Inc. remains so today-the BCTC is not a “1abor organization” and, therefore, the Court lacks

federal question jurisdiction

B, The Court Has No Feder'al Ouestion Jurisdiction Over Claims Against
Tortfeasor LaBarbera.

The state-law tort causes of action pled against Mr. LaBarbera do not provide a basis for
federal jurisdiction for two reasons

First, because the BCTC is not a “labor organization” as that term is defined by 29
U.S.C. § 152, l\/Ir. LaBarbera, the BCTC’s President, is not an “agent” of any “labor
organization” within the scope of the statute sufficient to confer federal question jurisdiction
See 29 U.S.C. § 185.

Second, even if the BCTC were a “labor organization,” the federal statutes upon which
Defendants based federal question jurisdiction provide no private right of action against
individuals or individual union officers See 29 U.S.C. § 187; R.M. Perlman, Inc. v. New York
Coai, Sait, Dresses, Rainwear & Allied Workers’ Union Local 89-22-], I.L. G.W.U., 789 F.
Supp. 127, 133 (S.D.N.Y. 1992) (holding that Section 303 of the LMRA creates no individual
liability); Prater v. United Mine Workers ofAm. Districts 20 & 23, 793 F.2d 1201, 1206 (11th
Cir. 1986); lodice v. Calabrese, 345 F. Supp. 248, 270 (S.D.N.Y. 1972) (holding union officers
are not subject to money judgment under Section 303 causes of action), a]j"d in part, rev ’d in
part, 512 F.2d 383 (2d Cir. 1975); see also Bus. Asset. Relocation, Inc. v. Teamsters Local 81 4,

No. 14-CV-0098 (RRl\/I) (Vl\/IS) (ECF No. 32 at 17) (LaBarbera brief arguing that claims

020019-494/00127763-1 14

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 20 of 25

brought against LaBarbera under Section 303 of the LMRA must be dismissed because “there is
no [private] right of action against individuals or individual union officers” and “Section 303

creates no individual liability).

C. Plaintiff’s Claims Are Not Preempted Under LMRA Section 301 Because Thev
Are Not Substantiallv Denendent on the Terms of a Collective Bargaining

Agreement.

Defendants’ argument under LMRA Section 301 fails for another reason: the state-law
claims do not assert a violation of a contract or otherwise require interpretation of a contract
Section 301 confers federal jurisdiction for “[s]uits for violation of contracts between an
employer and labor organization representing employees in an industry affecting commerce.” 29
U.S.C. § 185(a). The Supreme Court repeatedly has held that LMRA Section 301 only preempts
state-law claims that are “substantially dependent upon analysis of the terms of a [collective
bargaining] agreement made between the parties in a labor contract.” Allis-Chalmers Corp. v.
Laeck, 471 U.S. 202, 220 (1985). Where “resolution of the state-law claim does not require
construing the collective-bargaining agreement,” or only tangentially involves a provision of the
CBA, the state-law claim is not preempted Lingle v. Norge Div. ofMagic Clzef, ]nc., 486 U.S.
399, 407 (1988). Indeed, “the bare fact that a collective-bargaining agreement will be consulted
in the course of state-law litigation plainly does not require the claim to be extinguished.”
Livadas v. Bradshaw, 512 U.S. 107, 124, 114 S. Ct. 2068, 2078, 129 L. Ed. 2d 93 (1994).

Here, the Complaint does not assert a cause of action for a violation of the PLA or any
other contract Plaintiff merely referenced the PLA in its Complaint for background purposes to
provide proper context to understand the parties’ present dispute. Plaintiff has pursued PLA

violations in separate arbitration proceeding(s). (Compl. at 11 86.) The claims at issue here relate

020019-494/00127763-1 15

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 21 of 25

to actions that Defendants have taken as to a di]j”erent portion of the Hudson Yards project_the
WRY and 50 Hudson Yards_which all parties agree is not governed by the PLA. lndeed,
Plaintiff’ s tortious interference and defamation causes of action are based on rights created by
New York common law, not the PLA or any other collective bargaining agreement

Defendants wrongly contend that the state-law claims require interpretations of the PLA.
(Removal Petition at 11 6.) Defendants incorrectly apply Allis-Challners in asserting that
Plaintiff`s causes of action are preempted because they are somehow “‘inextricably intertwined’
with consideration of the labor contract.” See ECF No. 19 at 2 (citing Allis-Chalmers v. Lueck,
471 U.S. 202, 213 (1985)). While the preemptive effect of LMRA Section 301 may extend to
suits alleging liability in tort, rather than just suits alleging contractual violations, see ECF No.
19 at 2, a court must conclude that the inquiry is “substantially dependent upon analysis of the
terms of the collective bargaining agreemen .” 471 U.S. at 220.

Those circumstances are not present here. The claim for interference with prospective
economic relations involves potential new contracts with labor unions, not the PLA.
Defendants’ pre-motion letter does not identify any provision of the PLA that would need to be
interpreted to decide this claim. As to the defamation claim, Defendants’ pre-motion letter
argued that the parties Will need to address the truth or falsity of statements that Plaintiff “paid
billions in wages and benefits to union workers” and “never failed to make a payment of wages
or benefits at the PLA project.” ECF No. 19 at 2. But these are factual propositions which do
not depend on an interpretation of the PLA, and Defendants do not identify any provision of the
PLA that will need to be interpreted As the Second Circuit has held, when a court need only

reference a CBA, such as to determine the truth or falsity of a claim, the claim is not preempted

020019-494/00127763-1 16

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 22 of 25

See Foy v. Pratt & Whitney Gr_oup, 127 F.3d 229, 234 (2d Cir. 1997) (remanding state-law
negligent misrepresentation claim despite the fact that defendant cited to and the court analyzed
several portions of the CBA and noting that even “consult[ing] the CBA” to reach a legal
conclusion does not, in of itself, warrant preemption).7

The elements of Plaintiff’s causes of action are not intertwined with, nor do they require
any interpretation of the PLA or any other collective bargaining agreement Defendants simply
have not_and cannot-_point to any provision of the PLA or any other collective bargaining
agreement with which the Court must grapple or interpret to assess the legal merits of Plaintiff"s
causes of action When, as here, state law-not a collective bargaining agreement-provides for
the gravamen of the cause of action, LMRA Section 301 does not preempt8

D. Plaintiff’ s Causes of Action Are Not Preempted Under LMRA Section 303
Because Thev Do Not Relate To Secondarv Activitg

Defendants contend that LMRA Section 303 completely preempts Plaintiff’s causes of
action for tortious interference with prospective economic advantage and defamation (See
Removal Petition at 1111 8-10.) Section 303 provides a federal claim for unfair labor practices by
“any labor organization” directed at a so-called “secondary” employer. See 29 U.S.C. § 187

(conferring jurisdiction); id. § 158(b)(4) (identifying prohibited labor practices). A secondary

 

7 Without conceding as much (see supra, § III), we assume for the purposes of this argument and, infra § V,
that the PLA is a collective bargaining agreement

8 See also Smith-Emery Co. v. Int’l Union of Operating Eng’rs Local Union No. 12, 17-cv-02984 (AFMX),
2017 WL 3634590 (C.D. Cal. Aug. 21, 2017) (finding intentional interference with prospective economic
advantage claim was not preempted under Section 301 because the allegations did not require interpretation
of the relevant collective bargaining agreements even though the court may have to “look” or “consult” the
CBA); see also Gay v. Carlson, 60 F.3d 83, 88 (2d Cir. 1995) (defamation claim not preempted by the
Railway Labor Act, which has the same preemption standards as Section 301 of the LMRA, because the
dispute could not be “conclusively resolved” by interpreting the CBA and “involve[d] rights that exist
independent of the CBA”).

020019-494/00127763-1 17

 

Case 1:18-cV-O2376-GHW Document 27 Filed 04/30/18 Page 23 of 25

employer is “an employer with whom [the labor organization] does not have a dispute.” NLRB v,
Local 3 Int’l Brotherhood of Elec. Workers, 730 F.2d 870, 875-76 (2d Cir. 1984); NLRB v. Local
3 Int’l Brotherhood ofElec. Workers, 471 F.3d 399, 402 (2d Cir. 2006). Even assuming that the
BCTC satisfies the definition of “labor organization” (which it does not), there is no “secondary
boycott” or “secondary activity” allegation underlying the causes of action

Plaintiff alleges that Defendants sought to encourage its affiliated trade union members
not to enter into TLAs with Plaintiff, and instead pressure Plaintiff to sign a PLA for the
remaining portions of Hudson Yards-through bullying tactics toward the BCTC’s affiliated
union members and defamatory public statements (See Complaint at 1111 9, 89, 90.) This is
illegal tortious conduct_not secondary activity within the purview of NLRA Section 8(b)(4) and
29 U.S.C. § 187. At this stage of the case, because the Court must accept Plaintiff s factual
pleadings, Defendants fail to meet their burden of establishing federal question jurisdiction See,
supra, Anwar, 676 F. Supp.2d 285 (S.D.N.Y. 2009).

_It would be secondary and “arguably prohibited” by NLRA Section 8(b)(4) if the tort
claims were premised on allegations, for example, that the BCTC threatened trade contractors
with job actions unrelated to the Hudson Yards project or induced and encouraged their
employees to engage in strikes or slow-downs on other projects for the purpose of forcing or
requiring them to cease doing business with Plaintiff. Here, the gravamen of the causes of action
is primary activity directed towards HYC. The BCTC’s affiliated trade union members, because
they were parties to the PLA with HYC and performed work at the Hudson Yards project, are in
a primary, not secondary, dispute with HYC. The BCTC’s attempt to pressure the unions not to

enter into a TLA for the remainder of the Hudson Yards project is thus primary, not secondary,

020019-494/00127763-1 18

 

Case 1:18-cv-O2376-GHW Document 27 Filed 04/30/18 Page 24 of 25 `

activity. Accordingly, Plaintiff’ s causes of action are not completely preempted under LMRA
Section 303 and the case should be remanded9

E. There Is No Federal Ouestion Jurisdiction Over Plaintiff’ s Defamation Cause of
Action.

Plaintiff’s state-law defamation cause of action is not preempted by federal law because
Plaintiff has adequately pled actual malice and damages ln Linn v. United Plant Guard
Workers, 383 U.S. 53, 63 (1966), the Supreme Court held that a state-law defamation cause of
action may proceed in the context of a labor dispute so long as the alleged defamatory statement
was made with actual malice and caused Plaintiff damage.

Here, Plaintiff sufficiently alleges both elements (See Compl. at 1111 90-92, 95-97.)
Specifically, Plaintiff alleges that BCTC and l\/lr. LaBarbera acted with actual malice and intent
to harm Plaintiff in making false public statements regarding Plaintiff _e.g., calling Plaintiff
“union busters,” decrying that HYC “don’t [sic] want to pay benefits,” referring to the work site
as a “prison,” protesting that Plaintiff thinks union members are “not good enough to build
Hudson Yards” (Id. at 1111 95, 97, 99.) Plaintiff further alleges that it has “been damaged” as a
result of Defendants’ defamatory comments (Id. at 11 103.) Plaintiff’s state-law defamation

cause of action is thus not preempted and should be remanded to state court10

 

9 , The fact that the BCTC and/or Mr. LaBarbera may have also engaged in secondary activity violating
LMRA Section 303 and/or the NLRA does not confer subject-matter jurisdiction because those acts do not
form the basis for either cause of action as pled in the Complaint

10 State-law defamation suits in New York state court routinely proceed against unions and their officers_
even arising out of labor disputes-without being preempted by federal law. See, e.g., Montana v. Smith,
92 A.D.2d 732 (1983) (permitting case to proceed on the merits where plaintiff-owner of taxi company
alleged union official made slanderous statements regarding plaintiff's alleged mafia affiliations during a
labor dispute); Wolf St. Supermarkets, lnc. v. McPartlana’, 108 A.D.2d 25, 487 N.Y.S.2d 442 (1985)
(appellate court affirming jury verdict finding that defendant union defamed employer by distributing
handbills containing false statements regarding employer’s union animus).

020019-494/00127763-1 19

 

Case 1:18-cv-O2376-GHW Document 27 Filed 04/30/18 Page 25 of 25

CONCLUSION
For the foregoing reasons, the Court lacks subject-matter jurisdiction over Plaintiffs tort

causes of action and this case should be remanded to New York State Supreme Court.

Dated: April 30, 2018
New York, New York

Respectfully submitted,

WACHTEL MISSRY, LLP

    
    

winiam B. \vaaaP
Steven J. Cohen

Evan Weintraub

l\/larc Litt

By:

 

One Dag Hammarskjold Plaza
885 Second Avenue, 47th Floor
New York, New York 10017
(212) 909-9500

COVINGTON & BURLING LLP
Alan Vinegrad

C. William Phillips

Philip A. lrwin

620 8th Avenue
New York,, New York
(212) 841-1000

Attorneys for Plaintiij

020019-494/00127763-1 20

 

